6:10-cv-00486-JHP Document 193 Filed in ED/OK on 10/01/11 Page 1 of 15




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF OKLAHOMA

Bettsy Bumpas, in her capacity as the               )
Personal Representative of the Estate of            )
J.B., Deceased,                                     )
                                                    )
                              Plaintiff,            )
                                                    )
vs.                                                 ) Case No. CIV 10-486-RAW
                                                    )
HOC Industries, Inc., Dollar General                )
Corporation, Berry Plastics Corporation,            )
Kerr Group, LLC                                     )
                                                    )
                              Defendants.           )

 PLAINTIFF’S TRIAL WITNESS LIST PURSUANT TO RULE 26(a)(3)

           COMES NOW the Plaintiff by and through her attorneys of record, Carr &

Carr, and offers the following witnesses for use at trial pursuant to Federal Rule

of Civil Procedure 26(a)(3):

      I.      WILL CALL WITNESSES

           WITNESS                              PROPOSED TESTIMONY
Dr. Richard Back                      Expert will provide opinions about
Northwest Arkansas                    psychological harm to parents and family from
Psychological Group                   J.B.’s death
1706 Joyce, Ste. 3
Fayetteville, AR 72703
Harold Befort                         Current employee of Defendant HOC. Will
c/o Curtis Smith                      testify about production of torch fuel, quality
119 North Robinson, Suite 820         control measures, quality control problems,
Oklahoma City, OK 73102               communication from management, storage
                                      practices, financial matters of HOC, financial
                                      aspects of torch fuel production, customer
                                      relations, other similar incidents, chemistry
                                      and other areas relating to manufacturing of
                                      torch fuel. Deposed.




                                            1
6:10-cv-00486-JHP Document 193 Filed in ED/OK on 10/01/11 Page 2 of 15




Rhonda Brookshire            She is a corporate representative of Defendant
c/o Gary Farabough           Dollar General. She will testify about its
P.O. Box 1687                financial condition, sales of torch fuel, efforts
Ardmore, OK 73402            to keep torch fuel out of reach of children,
                             monthly activity guide, storage and stacking of
                             torch fuel bottles, determination of where to
                             stack torch fuel, understanding of consumer
                             expectation of whether torch fuel meets child-
                             resistant standards, knowledge of additional
                             risks to children of coloring and odorizing
                             torch fuel, its agreement or disagreement with
                             various policies, knowledge of additional risks
                             to children of coloring torch fuel so it does not
                             look like juice, odorizing torch fuel so it smells
                             bad to children, feasibility of coloring torch
                             fuel to not look like juice, feasibility of
                             odorizing torch fuel so it smells bad,
                             discussions about using non-see-through
                             packaging for torch fuel, feasibility of
                             packaging torch fuel so it cannot be seen by
                             children, the method of storing torch fuel, its
                             use of the six-wheeled cart or U boat, method
                             of storing torch fuel, knowledge of individuals
                             who ingested torch fuel, whether certain
                             warnings should have been given. She will
                             also testify to her personal belief about
                             retailers of deadly chemicals selling them in
                             packages that are unnecessarily attractive to
                             children or look like apple juice, the risk to
                             children of selling torch fuel in such
                             containers, and changing the bottle so that it
                             was non-transparent.
Bettsy Bumpas                Family testimony about JB, occurrence at
c/o Carr & Carr              scene, and damages to self and family.
4416 South Harvard           Deposed.
Tulsa, OK 74135
Eric Bumpas                  Family testimony about JB, occurrence at
1016 North B Street          scene, observations about torch fuel and
Duncan, OK 73533             damages to family. Deposed.
Gregory “Chris” Bumpas       Family testimony about JB, occurrence at
c/o Carr & Carr              scene, and damages to self and family.
4416 South Harvard           Deposed.
Tulsa, OK 74135




                                   2
6:10-cv-00486-JHP Document 193 Filed in ED/OK on 10/01/11 Page 3 of 15




William “Bill” C. Fields      Scene investigation, pain and suffering of JB
United States Department of   and family, chain of custody and
the Interior                  authentication of The Product
National Park Service
1849 C Street NW
Washington D.C. 20240
Jordan Foland                 Former employee of Defendant HOC. Will
325 Kokomo Avenue             testify about production of torch fuel, quality
Darby, KS                     control measures, quality control problems,
                              communication from management, storage
                              practices and other areas related to the
                              manufacturing of torch fuel. Deposed.
Karen Giovenco                Employee of Dollar General. Will testify about
c/o Gary Farabough            Defendant’s decision to purchase torch fuel
P.O. Box 1687                 from HOC, whether it was feasible to package
Ardmore, OK 73402             the torch fuel so that it could not be seen by
                              children, discussions with HOC regarding the
                              product and it being packaged in opaque
                              packages, the additional risks to children of
                              torch fuel colored and odorized like the
                              product, the policies of Dollar General about
                              reviewing packages that create an
                              unreasonable risk to children, the advantages
                              and disadvantages of odorizing torch fuel so
                              that it smells bad to children or coloring it so
                              that it does not look like juice, the storage and
                              stacking of bottles of torch fuel, the placement
                              of torch fuel in their stores, efforts to keep
                              torch fuel out of the reach of children,
                              consumer expectations about whether the cap
                              should meet child-resistant standards, its
                              contractual rights regarding its arrangement
                              with HOC, purchase of torch fuel from HOC,
                              sale of torch fuel throughout the United States
                              from its stores, number of stores operated by
                              Dollar General.
Dessiree Green                Family testimony about JB, scene prior to
Rt. 2, Box 318                occurrence, and damages to family
Duncan, OK 73533




                                    3
6:10-cv-00486-JHP Document 193 Filed in ED/OK on 10/01/11 Page 4 of 15




Kent Hobbs                      Current employee of Defendant HOC. Will
c/o Curtis Smith                testify about production of torch fuel, quality
119 North Robinson, Suite 820   control measures, quality control problems,
Oklahoma City, OK 73102         communication from management, storage
                                practices, financial matters of HOC, financial
                                aspects of torch fuel production, customer
                                relations, other similar incidents, chemistry
                                and other areas relating to manufacturing of
                                torch fuel. Deposed.
Michael Hula                    Former employee of Defendant HOC. Will
300 8th Street                  testify about production of torch fuel, quality
Sedgwick, KS                    control measures, quality control problems,
                                communication from management, storage
                                practices and other areas related to the
                                manufacturing of torch fuel. Deposed.
Dr. Steven Marcus               Expert will provide opinions about the
Department of Preventive        dangerousness of torch fuel looking like apple
Medicine & Community Health     juice; previous exposures, injuries and deaths
Medical Science Building        to torch fuel and lamp oil, contact with
Room F506                       packagers of torch fuel, contact with Defendant
185 South Orange Avenue         HOC, the medical care J.B. received before and
Newark, NJ 07101                after he ingested torch fuel, the effect of the
                                torch fuel on J.B., post mortem evaluation of
                                J.B. and the cause of his death, the
                                classification of petroleum distillates as a
                                dangerous substance and the reasons why, the
                                bad design decisions concerning the product,
                                the reasons why the product was attractive to
                                children and J.B. and why the use of the
                                product involves danger to them, his efforts to
                                reduce the dangers of torch fuel, HOC’s lack of
                                concern for the public’s welfare, his
                                suggestions for changing the product so that it
                                is safer, causation, lack of care on the part of
                                HOC, reckless disregard of HOC for welfare of
                                children and others.
Michael Menzies                 Former employee of Defendant HOC. Will
911 Division Street             testify about production of torch fuel, quality
Dawns, KS 67437                 control measures, quality control problems,
                                communication from management, storage
                                practices and other areas related to the
                                manufacturing of torch fuel. Deposed.
John Meredith                   Driver/dock worker of HOC. Will testify about
6544 Longmont Street            stacking and storage conditions of the torch
Park City, KS                   fuel. Deposed.



                                      4
6:10-cv-00486-JHP Document 193 Filed in ED/OK on 10/01/11 Page 5 of 15




Gary V. Montgomery              Expert will provide opinions that cap was
2601 Pinto                      defective.
Cocoa, FL 32926
Tom Olsen                       Current employee of Defendant HOC. Will
c/o Curtis Smith                testify about production of torch fuel, quality
119 North Robinson, Suite 820   control measures, quality control problems,
Oklahoma City, OK 73102         communication from management, storage
                                practices, financial matters of HOC, financial
                                aspects of torch fuel production, customer
                                relations, other similar incidents, chemistry
                                and other areas relating to manufacturing of
                                torch fuel. Deposed.
Jason Pope                      Former employee of Defendant HOC. Will
Hayes, KS                       testify about production of torch fuel, quality
                                control measures, quality control problems,
                                communication from management, storage
                                practices and other areas related to the
                                manufacturing of torch fuel. Deposed.
Donald Poschen                  Current employee of Defendant HOC. Will
c/o Curtis Smith                testify about production of torch fuel, quality
119 North Robinson, Suite 820   control measures, quality control problems,
Oklahoma City, OK 73102         communication from management, storage
                                practices, financial matters of HOC, financial
                                aspects of torch fuel production, customer
                                relations, other similar incidents, chemistry
                                and other areas relating to manufacturing of
                                torch fuel, testing of the package and its caps
                                and bottles, product spec sheet, seals for the
                                cap and bottle, his notes regarding the testing
                                and other things, his knowledge of how the
                                caps work. Mr. Poschen has resisted
                                completing his deposition and Plaintiff
                                requests leave to supplement this description
                                of this testimony when the deposition is
                                completed.
Amber Rains                     Mother of child victim. Will testify about
Blackwell, OK                   dangers of torch fuel.
Jacob Rains                     Father of child victim. Will testify about
Blackwell, OK                   dangers of torch fuel.




                                      5
6:10-cv-00486-JHP Document 193 Filed in ED/OK on 10/01/11 Page 6 of 15




Clayton Robinson                Expert will provide opinions about the
Precise Packaging Services      defectiveness of the package and cap; chain of
Building 2                      custody of the product, compatibility of the
5866 Schultz Road               package, cap and fuel, testing for compatibility
Elberfeld, IN 47613             and child effectiveness, application of the
                                federal regulations to the packaging of torch
                                fuel, negligence of the Defendants, defects in
                                the package and its cap, the likelihood of J.B.
                                opening a functioning and non-functioning
                                CRC on the package, effect of heat, sun and
                                pressure on the package and cap, causation.
David Schwebel                  Expert will provide opinions about the
Department of Psychology        attractiveness of the product to children,
University of Alabama           including JB, capabilities of children of various
1300 University Blvd.           ages, alternative designs that would be less
Birmingham, AL 35294            appealing to children, negligence of the
                                Defendants, defects in the product and
                                package, causation, reasons why the product
                                was attractive to children, reasons why the
                                product was defective, why the product was not
                                fit to be sold and used around children, other
                                packaging that was available which would not
                                have been as attractive to J.B. as the product,
                                the recklessness of Defendants, the
                                misrepresentations Defendants made, the
                                negligence of Defendants, causation, the ability
                                of 23 month old children to remove a
                                functioning and non-functioning CRC from a
                                64 oz bottle of torch fuel, causation.
Randy Scoggins                  Scene investigation of park rangers, chain of
United States Department of     custody of the product, interviews with
the Interior                    witnesses in investigation. Deposed.
National Park Service
1849 C Street NW
Washington D.C. 20240
Tharen Spahr                    Current employee of Defendant HOC. Will
c/o Curtis Smith                testify about production of torch fuel, quality
119 North Robinson, Suite 820   control measures, quality control problems,
Oklahoma City, OK 73102         communication from management, storage
                                practices, financial matters of HOC, financial
                                aspects of torch fuel production, customer
                                relations, other similar incidents, chemistry
                                and other areas relating to manufacturing of
                                torch fuel. Deposed.




                                      6
6:10-cv-00486-JHP Document 193 Filed in ED/OK on 10/01/11 Page 7 of 15




Riley Spears or other Dollar    Will testify about handling and storage of
General Representative          product at Dollar General’s Distribution
c/o Gary Farabough              Center. Deposed.
P.O. Box 2100
Ardmore, OK 73402
Lashonda Thomas                 Mother of child victim. Will testify about
434 North 6th Street            dangers of torch fuel.
Lomer, LA 71040
Sue Thompson                    Park Ranger. Will testify about chain of
National Park Service           custody of bottle and storage conditions at
1849 C Street NW                National Park Service.
Washington D.C. 20210
Amanda Vickers                  Mother of child victim. Will testify about
c/o Carr & Carr                 dangers of torch fuel.
4416 South Harvard
Tulsa, OK 74135
Bill Vickers                    Father of child victim. Will testify about
c/o Carr & Carr                 dangers of torch fuel.
4416 South Harvard
Tulsa, OK 74135
Bonnie Jolene Wells             Mother of child victim. Will testify about
c/o Carr & Carr                 dangers of torch fuel.
4416 South Harvard
Tulsa, OK 74135
Cory Christohper Wells          Father of child victim. Will testify about
c/o Carr & Carr                 dangers of torch fuel.
4416 South Harvard
Tulsa, OK 74135
Bryan Yeardon                   Vice president of business development for
c/o HOC Industries, Inc.        HOC Industries, Inc as designated on initial
Curtis L. Smith                 disclosures. Will testify about testing of fuel
Chubbuck Smith & Duncan         and cap, production practices, quality control,
Robinson Renaissance, Ste 820   financial considerations regarding torch fuel,
119 N. Robinson                 financial condition of HOC, communication to
Oklahoma City, OK 73102         management and employees, knowledge of
                                danger of torch fuel, other incidents, storage
                                practices, customer relations. Deposed.
Corporate Representative of     Defendant’s practices; financial condition
each Defendant
Custodians of records as        Authentication of medical records, poison
needed                          control publications, Park Ranger
                                investigation, scene photos, bottle and cap
                                photos, and other documents listed in
                                Plaintiff’s Exhibit List.




                                      7
6:10-cv-00486-JHP Document 193 Filed in ED/OK on 10/01/11 Page 8 of 15




   II.   MAY CALL WITNESSES

           WITNESS                       PROPOSED TESTIMONY
Dr. Alan Aycock                 Medical testimony about JB
Aycock & Snell, PLLC
5402 Southwest Lee Boulevard
Lawton, OK 73505
Ruth Balzer                     Current employee of Defendant HOC. Will
c/o Curtis Smith                testify about production of torch fuel, quality
119 North Robinson, Suite 820   control measures, quality control problems,
Oklahoma City, OK 73102         communication from management, storage
                                practices, financial matters of HOC, financial
                                aspects of torch fuel production, customer
                                relations, other similar incidents, chemistry
                                and other areas relating to manufacturing of
                                torch fuel.
Alonzo Bell                     Production worker of HOC
Address Unknown
Nicholas Biggs                  Dock employee of HOC
Address Unknown
Sheli Blessant                  Inventory control/logistics of HOC
1016 North Coolidge Avenue
Wichita, KS
James Bowman                    Current employee of Defendant HOC. Will
c/o Curtis Smith                testify about production of torch fuel, quality
119 North Robinson, Suite 820   control measures, quality control problems,
Oklahoma City, OK 73102         communication from management, storage
                                practices, financial matters of HOC, financial
                                aspects of torch fuel production, customer
                                relations, other similar incidents, chemistry
                                and other areas relating to manufacturing of
                                torch fuel.
John Branum                     Chain of custody of The Product if necessary
c/o Carr & Carr
4416 South Harvard
Tulsa, OK 74135
Robert Bronson                  Production lead of HOC
Address Unknown
Bradley Brown                   Production lead of HOC
Address Unknown
Robert Buckingham               Forklift driver of HOC
Address Unknown
Pat Carr                        Chain of custody of The Product if necessary.
c/o Carr & Carr
4416 South Harvard
Tulsa, OK 74135



                                      8
6:10-cv-00486-JHP Document 193 Filed in ED/OK on 10/01/11 Page 9 of 15




Dr. Chai S. Choi             Medical examiner concerning JB
Oklahoma Medical Examiner
901 North Stonewall
Oklahoma City, OK 73117
Frankie Chrisman             Former employee of Defendant HOC. Will
409 West 15th Street         testify about production of torch fuel, quality
Concordia, KS                control measures, quality control problems,
                             communication from management, storage
                             practices and other areas related to the
                             manufacturing of torch fuel.
Stanley Circle               Former employee of Defendant HOC. Will
1011 Sage Street             testify about production of torch fuel, quality
Silver Lake, KS              control measures, quality control problems,
                             communication from management, storage
                             practices and other areas related to the
                             manufacturing of torch fuel.
Aaron Cline                  Production worker of HOC
Address Unknown
Kathy Cline                  Administrative assistant of HOC
Address Unknown
Luke Cocking                 Production worker of HOC
Address Unknown
Nicholas Cocking             Production worker of HOC
Address Unknown
Jim Cole                     Former employee of Defendant HOC. Will
Address unknown              testify about production of torch fuel, quality
                             control measures, quality control problems,
                             communication from management, storage
                             practices and other areas related to the
                             manufacturing of torch fuel.
Janice Crabtree              Former employee of Defendant HOC. Will
4327 Rushwood Circle         testify about production of torch fuel, quality
Bel Aire, KS                 control measures, quality control problems,
                             communication from management, storage
                             practices and other areas related to the
                             manufacturing of torch fuel.
Byron Curtis                 Medical examiner concerning JB
Oklahoma Medical Examiner
901 North Stonewall
Oklahoma City, OK 73117
Christopher Desoto           Production worker of HOC
Address Unknown
Steve Devereaux              Forklift driver of HOC
Address Unknown




                                   9
6:10-cv-00486-JHP Document 193 Filed in ED/OK on 10/01/11 Page 10 of 15




Lori Dixon                       Child-resistant testing protocol Deposed.
c/o Drew Downing
100 West 5th Street, Suite 400
P.O. Box 2100
Tulsa, OK 74121
Hope Francis                     Employee of Rexam
Address Unknown
Cole Gillenwater                 Current employee of Defendant HOC. Will
Address unknown                  testify about production of torch fuel, quality
                                 control measures, quality control problems,
                                 communication from management, storage
                                 practices, financial matters of HOC, financial
                                 aspects of torch fuel production, customer
                                 relations, other similar incidents, chemistry
                                 and other areas relating to manufacturing of
                                 torch fuel.
Kirby Green                      Family testimony about JB, scene prior to
Rt. 2, Box 318                   occurrence, and damages to family
Duncan, OK 73533
Anthony Groves                   Production worker of HOC
Address Unknown
Robert Henry                     Maintenance man of HOC
Address Unknown
Steve Jacobson                   Employee of Dollar General. Will testify about
c/o Gary Farabough               Defendant’s decision to purchase torch fuel
P.O. Box 1687                    from HOC.
Ardmore, OK 73402
John Jacobus                     Defendant HOC’s expert in chemistry. Will
c/o Curtis Smith                 testify about his background as an expert
119 North Robinson, Suite 820    witness, the chemical composition of cap and
Oklahoma City, OK 73102          torch fuel, susceptibility of package to
                                 pressure, heat, cold and sunlight; temperature
                                 in the bed of a pickup, compatibility of torch
                                 fuel with caps, temperatures of pick up truck
                                 beds, storage of bottle and cap, testing of the
                                 cap and fuel, condition of the cap, the
                                 absorption of torch fuel components by the
                                 plastic in the cap, . Deposed.
Leroy Johnson                    Medical examiner concerning JB
Oklahoma Medical Examiner
901 North Stonewall
Oklahoma City, OK 73117
Russell Kessler                  Logistics manager of HOC
Address Unknown
Louis Krug                       Park Ranger photographer
Address Unknown


                                      10
6:10-cv-00486-JHP Document 193 Filed in ED/OK on 10/01/11 Page 11 of 15




Tony Laster                     Closures of exemplar products and custody of
c/o Carr & Carr                 them; chain of custody of The Product;
4416 South Harvard              authentication of photographs and documents
Tulsa, OK 74135
Dr. Teresa Lynn                 Medical provider; Pain and suffering of JB and
Arbuckle Memorial Hospital      family
2011 West Broadway
Sulphur, OK 73086
Daniel Mahoney                  Production worker of HOC
Address Unknown
Lee McGoodwin                   Authenticate recordings of calls to and from
Oklahoma Poison Control         Oklahoma Poison Control
Center
940 NE 13th Street
Room 3N3510
Oklahoma City, OK 73104
Selena McGriff                  Employee of Dollar General. Will testify about
c/o Gary Farabough              Defendant’s decision to purchase torch fuel
P.O. Box 1687                   from HOC.
Ardmore, OK 73402
Leo Mendoza                     Production worker of HOC
Address Unknown
Steven Mullins                  Medical examiner concerning JB
Address Unknown
William Nath                    Former employee of Defendant HOC. Will
c/o Curtis Smith                testify about production of torch fuel, quality
119 North Robinson, Suite 820   control measures, quality control problems,
Oklahoma City, OK 73102         communication from management, storage
                                practices, financial matters of HOC, financial
                                aspects of torch fuel production, customer
                                relations, other similar incidents, chemistry
                                and other areas relating to manufacturing of
                                torch fuel. Deposed.
Bryn Nesley                     Office staff of HOC
324 North Zachary Drive
Derby, KS
Christopher Newell              Production supervisor of HOC
Address Unknown
Debra Patton                    Accounts payable clerk of HOC
Address Unknown
Victor Polley                   Production worker of HOC
Address Unknown
Teresa Ranney                   Administrative assistant of HOC
Address Unknown




                                     11
6:10-cv-00486-JHP Document 193 Filed in ED/OK on 10/01/11 Page 12 of 15




Susan Rider                    Family testimony about JB, damages to family
113 West Willow
Duncan, OK
Bruce Robinson                 Driver/dock worker of HOC
Address Unknown
Karis Schroeder                Part time office worker of HOC
Address Unknown
Thomas Short                   Production worker of HOC
Address Unknown
Tina Smith                     Production worker of HOC
Address Unknown
Dr. Stephen W. Snell, III      Medical testimony about JB
5402 Southwest Lee Boulevard
Lawton, OK 73505
Danny Standley                 Current employee of Defendant HOC. Will
219 North Lincoln Street       testify about production of torch fuel, quality
Smith Center, KS               control measures, quality control problems,
                               communication from management, storage
                               practices, financial matters of HOC, financial
                               aspects of torch fuel production, customer
                               relations, other similar incidents, chemistry
                               and other areas relating to manufacturing of
                               torch fuel.
Calvin Stephenson              Logistics manager of HOC
4967 South Meadowview
Wichita, KS
Jessie Terronez                Production line of HOC
Address Unknown




                                    12
6:10-cv-00486-JHP Document 193 Filed in ED/OK on 10/01/11 Page 13 of 15




John Vassallo                    Will testify about child-resistant closures, his
106 Ridgefield Way               examination of the package and cap, the fact
Lititz, PN                       the cap did not freewheel when he examined it,
                                 the probable cause of the cap not freewheeling,
                                 the seals used on the package and similar
                                 packages, testing of CRC closures, the design
                                 and dimensions of the closure,
                                 communications between Berry and HOC,
                                 Berry’s warnings to HOC to test the cap for
                                 compatibility with the fuel, the manufacturing
                                 of the cap, the reaction of the polypropylene
                                 with torch fuel, the cause of the cap swelling,
                                 adsorption of the fuel and is vapors, the
                                 purpose of CRC and the prevention of injuries
                                 and deaths of children, the likelihood of a 23
                                 month old child removing a functioning CRC
                                 from the package, the effect of torque on the
                                 package and the CRC, the need to test the cap
                                 for compatibility with torch fuel, HOC’s
                                 responsibilities to test under the Poison
                                 Prevention Packaging Act, effect of heat on the
                                 CRC.
Lorena Vasquez                   Accounts receivable clerk of HOC
Address Unknown
David Waughtal                   Maintenance man of HOC
Address Unknown
Dennis Weiland                   Scene Investigation of park rangers.
United States Department of
the Interior
National Park Service
1849 C Street NW
Washington D.C. 20240
Gary White                       Driver/dock worker of HOC
Address Unknown
Pansy Workman                    Dollar General district manager who will testify
c/o Dollar General Corporation   about store procedures as designated on initial
Gary W. Farabough                disclosures
P.O. Box 1687
Ardmore, Oklahoma 73402
Chad Zellmer                     Driver/dock worker of HOC
426 East Irma Street
Maize, KS




                                      13
6:10-cv-00486-JHP Document 193 Filed in ED/OK on 10/01/11 Page 14 of 15




Unknown mother who lost
child as identified in Bryan
Yourdon’s depo page 215 line 1-
11
Address unknown




                                   Respectfully submitted,

                                   CARR & CARR, ATTORNEYS



                                   By:___/s/ Patrick E. Carr__________
                                        Patrick E. Carr, OBA #1506
                                        Tye H. Smith, OBA #44595
                                        A. Laurie Koller, OBA #16857
                                        John L. Branum, OBA #20165
                                        4416 South Harvard
                                        Tulsa, OK 74135
                                        (918) 747-1000
                                        (918) 747-7284 Fax
                                        Attorneys for Plaintiffs




                                  14
6:10-cv-00486-JHP Document 193 Filed in ED/OK on 10/01/11 Page 15 of 15




                         CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of October, 2011, the foregoing was filed
electronically with the Clerk of the Court to be served by operation of the Court’s
electronic filing system upon the following:

Gary W. Farabough
Ted Pasley
Warren E. Mouledoux III
P.O. Box 1687
Ardmore, Oklahoma 73402
Attorneys for Defendant
Dollar General Stores

Curtis L. Smith
Stacey S. Chubbuck
Chubbuck Smith & Duncan, P.C.
Robinson Renaissance, Suite 820
119 N. Robinson
Oklahoma City, OK 73102
Attorney for Defendant
HOC Industries


                                          By:    ___/s/ Patrick E. Carr_____
                                                      PATRICK E. CARR




                                         15
